                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION

 UNITED STATES OF AMERICA,                      )
                                                )
                               Plaintiff,       )
                                                )
                         v.                     )    Case No. 21-00044-01-CR-W-HFS
                                                )
 DANIELLE A. MATTHEWS,                          )
                                                )
                               Defendant.       )

                    MEMORANDUM OF MATTERS DISCUSSED AND
                     ACTION TAKEN AT PRETRIAL CONFERENCE


PENDING CHARGE: On February 24, 2021, the Grand Jury returned a two-count Indictment
charging that on or about September 23, 2020, the Defendant, Danielle A. Matthews, having been
previously convicted of a crime punishable by imprisonment for a term exceeding one year, did
knowingly possess a firearm (Count One), and knowingly and intentionally possess phencyclidine,
a Schedule II controlled substance (Count Two). Defendant Matthews is scheduled to change her
plea on Count One on November 18, 2021. Trial is only on Count Two.

The following matters were discussed and action taken during the pretrial conference:

TRIAL COUNSEL:
     Government: Sarah J. Rasalam
           Case Agent: Detective Timothy Sims, KCMO Police Department
     Defense: Ronna Holloman-Hughes

OUTSTANDING MOTIONS: None


TRIAL WITNESSES:
     Government: 5 without stipulations
     Defendant: 1 witness, including the Defendant

TRIAL EXHIBITS:
     Government: approximately 10 exhibits
     Defendant: approximately 5 exhibits

DEFENSES: General denial.




         Case 4:21-cr-00044-HFS Document 35 Filed 11/16/21 Page 1 of 2
POSSIBLE DISPOSITION:
     ( ) Definitely for trial; (X) Possibly for trial; ( ) Likely a plea will be worked out

TRIAL TIME: 1 days total
     Government’s case including jury selection: 1 day(s)
     Defendant: ½ day(s)

STIPULATIONS: None at this time.

UNUSUAL QUESTIONS OF LAW: None at this time.

FILING DEADLINES:

       Witness and Exhibit List
             Government: None filed. Due on or before November 23, 2021.
             Defendant: None filed. Due on or before November 23, 2021.

       Counsel are requested to list witnesses in alphabetical order on their witness list.

       Exhibit Index, if required by the District Court, Voir Dire, Jury Instructions: Due on

or before December 1, 2021.

Please Note: Jury instructions must comply with Local Rule 51.1

       Motion in Limine: Due on or before December 1, 2021.


TRIAL SETTING: Criminal jury trial docket set for December 6, 2021.

       Please note: Defendant Matthews is scheduled to change her plea on Count One on
       November 18, 2021. Trial is only on Count Two.

       The Government would prefer the second week. Defense does not object to the second
       week. Depending on the discovery to be released today it is possible this will be a bench
       trial. Please note the Government would have to receive authorization from the
       Department of Justice to proceed with a bench trial; that authorization has not been granted
       as of today.


       IT IS SO ORDERED


                                                      /s/ Lajuana M. Counts
                                                     LAJUANA M. COUNTS
                                                     UNITED STATES MAGISTRATE JUDGE


                                                 2

          Case 4:21-cr-00044-HFS Document 35 Filed 11/16/21 Page 2 of 2
